    Case: 1:17-cv-08576 Document #: 38 Filed: 11/15/18 Page 1 of 1 PageID #:146



                       IN THE UNITED STATES DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF ILLINOIS

Cristian Ramos,                                    )
                                                   )
                       Plaintiff,                  )
                                                   )
               v.                                  )   No. 17 C 8576
                                                   )
Sgt. Gee, et al,                                   )   Judge Rebecca R. Pallmeyer
                                                   )
                                                   )
                       Defendants.                 )

                                               ORDER

         Telephone status conference convened. Defendants Gee and Tucker have filed
appearances. Defendant named as "Zambriz" has not been located. Within 24 hours, defense
counsel will mail to Plaintiff a list of correctional officers whose names begin with Z, in an effort to
assist Plaintiff in identifying the third defendant. Defendants have leave to take the deposition of
Plaintiff in custody, and are directed to do so within 60 days. Further telephone status is set for
1/17/2019 at 8:30 a.m., the call to be initiated by defense counsel from his office. Plaintiff reports
he was assaulted on 10/28/2018 by officers at Pinckneyville and that this assault was recorded on
videotape. The court encourages Plaintiff to file a grievance relating to this incident, should he
choose to do so. The Clerk is directed to provide Plaintiff with an accounting of fees he has paid
against his filing fee obligation.

                                               ENTER:




Dated: November 15, 2018                       _________________________________________
                                               REBECCA R. PALLMEYER
                                               United States District Judge


(T:00:03)
